       Case 4:19-cv-00715 Document 142 Filed on 10/29/21 in TXSD Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

  JILLIAN OSTREWICH,                                  §
     Plaintiff,                                       §
                                                      §
  v.                                                  §
                                                      §
  ISABEL LONGORIA, in her official capacity as        §
  Harris County Elections Administrator; RUTH         §    Civil Action No. 4:19-CV-715
  R. HUGHS, in her official capacity as Secretary     §
  of State of Texas; KIM OGG, in her official         §
  capacity as Harris County District Attorney;        §
  KEN PAXTON, in his official capacity as the         §
  Attorney General of Texas,                          §
     Defendants.                                      §


                           DEFENDANTS’ NOTICE OF APPEAL


        Pursuant to Federal Rules of Appellate Procedure, Defendant Isabel Longoria, Harris County

Elections Administrator, and State Defendants Ruth R. Hughes and Ken Paxton give this notice of

appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s Order Adopting

Magistrate Judge’s Memorandum and Recommendation (Dkt. 121) and Final Judgment (Dkt. 122)

signed and entered September 30, 2021.



                                     Respectfully submitted,

                                     KEN PAXTON
                                     Attorney General of Texas

                                     BRENT WEBSTER
                                     First Assistant Attorney General

                                     SHAWN COWLES
                                     Deputy Attorney General for Civil Litigation

                                     THOMAS A. ALBRIGHT
                                     Chief, General Litigation Division
     Case 4:19-cv-00715 Document 142 Filed on 10/29/21 in TXSD Page 2 of 2



                                      /s/ Christopher D. Hilton
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                                      Paxton and Secretary of State Ruth R. H ughs



                                      /s/ Stan Clark
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                                      Counsel for Isabel Longoria, H arris County Elections
                                      Administrator



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been sent via the

Court’s CM/ECF system on this the 29th day of October, 2021, to all counsel of record.



                                              /s/ Christopher D. Hilton
                                              CHRISTOPHER D. HILTON
                                              Assistant Attorney General




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